Case 4:21-cr-00313-SDJ-AGD Document 1 Filed 11/10/21 Page 1 of 3 PageID #: 1




                         IN THE UNITED STATES OF AMERICA
                             EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

UNITED STATES OF AMERICA §

v.                            §                        No. 4:21-CR   <3I2>
                                            §
 ROBERT TYRONE ADAMS JR. §



                                      INDICTMENT
                                                                     FILED
                                                                        NOV 1 0 2021
The United States Grand Ju y Charges:
                                                                    Clerk, U.S. District Court
                                                                         Texas Eastern
                                        COUNT ONE

                                                        Violation: 18 U.S.C. § 922(a)(1)(A)
                                                        (Engaging in the Business Without
                                                        a License (Firearms)

       From on or about the August 1, 2021 and continuing up to and including the date

of the filing of this Indictment, in the Eastern District of Texas and elsewhere, the

defendant, ROBERT TYRONE ADAMS JR., not being a licensed dealer of firearms

within the meaning of Chapter 44, Title 18, United States Code, did willfully engage in

the business of dealing in firearms, in violation of 18 U.S.C. §§ 922(a)(1)(A), 923(a), and

924(a)(1)(D).


       NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

       Criminal Forfeiture Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       As a result of committing the felony offense in violation of 18 U.S.C. §

922(a)(1)(A) alleged in Count One of this Indictment, defendant, ROBERT TYRONE
Case 4:21-cr-00313-SDJ-AGD Document 1 Filed 11/10/21 Page 2 of 3 PageID #: 2




ADAMS JR., shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d), and 28

U.S.C § 2461(c), all firearms and ammunition involved in the offense, including but not

limited to the following:

   1. Glock, 30S, .45 caliber pistol, bearing serial number: BUSY367;
   2. Smith & Wesson, SD9 VE, 9mm pistol, bearing serial number: FDA9057; and
   3. Any ammunition related to the case.




                                                      A TRUE BILL


                                                      FOREPERSON


NICHOLAS J. GANJEI
ACTING UNITED STATES ATTORNEY


                                                      Date

                            :omey
Case 4:21-cr-00313-SDJ-AGD Document 1 Filed 11/10/21 Page 3 of 3 PageID #: 3




                      IN THE UNITED STATES OF AMERICA
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

UNITED STATES OF AMERICA §
                                        §
v.      §      No.             4:21-CR
                        § Judge
ROBERT TYRONE ADAMS JR. §


                            NOTICE OF PENALTY

                                    Count One

     Violation: 18 U.S.C. § 922(a)(1)(A)

     Penalty: Imprisonment of not more than five years, a fine not to
                        exceed $250,000, or both; a term of supervised release of not
                        more than three years.


     Special Assessment: $ 100.00
